       Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 1 of 13




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



  UNITED STATES OF AMERICA                               Criminal


            V.
                                                         Violation(s):

  ROGER KNOX,
                                                         Count One: Conspiracy to Commit
            Defendant.                                   Securities Fraud
                                                         (18U.S.C.§371)


                                                         Count Two: Securities Fraud; Aiding
                                                         and Abetting
                                                         (15 U.S.C. §§ 78j(b) and 78ff;
                                                         17 C.F.R. § 240.10b-5; 18 U.S.C. § 2)

                                                         Forfeiture Allegation:
                                                         (18 U.S.C. § 981(a)(1)(C) and 28
                                                         U.S.C. § 2461(c))



                                          INDICTMENT


The Grand Jury charges that:

       At all times relevant to this Indictment:

                                        General Allegations

                                    Key Individuals and Entities

       1.        The defendant, ROGER KNOX ("KNOX"), was a resident of France.

       2.        Co-Conspirator 1 ("CC-1") was a resident of France who worked with KNOX.

       3.        Co-Conspirator 2 ("CC-2") was a resident of Los Angeles, California who invested

in publicly traded companies and engaged in pump-and-dump schemes as well as other forms of

market manipulation.
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 2 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 3 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 4 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 5 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 6 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 7 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 8 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 9 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 10 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 11 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 12 of 13
Case 1:18-cr-10385-NMG Document 18 Filed 10/23/18 Page 13 of 13
